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DISTRICT OF COLUMBIA
OFFICE OF THE STATE SUPERINTENDENT OF EDUCATION
Office of Dispute Resolution
810 First Street, NE, 2nd Floor
Washington, DC 20002

PETITIONER,
on behalf of STUDENT,’ Date Issued: April 29, 2017
Petitioner, Hearing Officer: Peter B. Vaden
v. Case No: 2017-0050
Hearing Date: April 13, 2017
DISTRICT OF COLUMBIA
PUBLIC SCHOOLS, Office of Dispute Resolution, Room 2006
Washington, D.C.
Respondent.

HEARING OFFICER DETERMINATION
INTRODUCTION AND PROCEDURAL HISTORY
This matter came to be heard upon the Administrative Due Process Complaint
Notice filed by Petitioner (the Petitioner or MOTHER), under the Individuals with
Disabilities Education Act, as amended (the IDEA), 20 U.S.C. § 1400, et seq., and Title
5-E, Chapter 5-E30 of the District of Columbia Municipal Regulations (“D.C. Regs.”). In
her due process complaint, Petitioner alleges that Respondent District of Columbia
Public Schools (DCPS) has denied Student a free appropriate public education (FAPE)
by not ensuring that he was offered an appropriate educational placement beginning in
the 2015-2016 school year. Petitioner requests that DCPS be ordered to fund student’s

prospective placement at a therapeutic residential school.

Personal identification information is provided in Appendix A.

PLAINTIFF'S
EXHIBIT

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Student, an AGE youth, is a resident of the District of Columbia. Petitioner’s Due
Process Complaint, filed on February 17, 2017, named DCPS as respondent. The
undersigned hearing officer was appointed on February 21, 2017. The parties met for a
resolution session on March 7, 2017 and were unable to reach an agreement. My final
decision in this case is due by May 3, 2017. On March 14, 2017, I convened a telephone
prehearing conference with counsel to discuss the hearing date, issues to be determined
and other matters.

The due process hearing was scheduled for April 12 and 13, 2017. However, for
health reasons, Mother was not able to participate on April 12, 2017 and, by agreement
of counsel, the hearing was completed in one day, on April 13, 2017. The hearing, which
was closed to the public, was recorded on an electronic audio recording device. The
Petitioner appeared in person and was represented by PETITIONER’S COUNSEL.
Respondent DCPS was represented by DCPS’ COUNSEL.

At the beginning of the hearing, Petitioner’s Counsel made an oral motion for
sanctions in the form of a directed finding against DCPS on the grounds that DCPS’
amended response to the complaint, filed on March 16, 2017, did not comply with the
requirements of my March 14, 2017 Prehearing Order. I denied the motion as untimely
filed and not in compliance with the Office of Dispute Resolution’s Standard Operating
Procedures.

The Petitioner testified and called Educational Advocate as her only additional
witness. DCPS called as witnesses NONPUBLIC SCHOOL 2 PROGRAM DIRECTOR,
DCPS MONITOR and ASSISTANT PRINCIPAL. Petitioner’s Exhibits P-1 through P-47
and DCPS’ Exhibits R-1 through R-55 were all admitted into evidence without objection.

Counsel for the respective parties made opening statements. At the request of
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Petitioner’s Counsel, the parties were granted leave until April 19, 2017 to file written
closing arguments. Both parties timely filed written closings.

JURISDICTION

The hearing officer has jurisdiction under 20 U.S.C. § 1415(f) and D.C. Regs. tit.
5-E, § 3029.
ISSUES AND RELIEF SOUGHT
The following issues for determination were certified in the April 25, 2017
Prehearing Order:

A. Whether DCPS denied Student a FAPE, and violated a June 2015 Hearing
Officer Determination, by failing to offer Student an appropriate full-time IEP
and suitable educational placement by the beginning of the 2015-2016 school
year when Student was at City School 2;

B. Whether since May 2016 through the present, DCPS has denied Student a
FAPE by failing to ensure that an IEP team was convened to review his academic,
social, emotional and behavioral needs and to provide for Student’s placement in
a therapeutic residential school;

C. Whether since July 2015, DCPS has denied Student a FAPE by failing to

ensure that Student’s IEP teams discussed his least restrictive environment

(LRE) and described the team’s LRE consideration and decision on Student’s

IEPs and

D. Whether since May 2016, DCPS has denied Student a FAPE by failing to

ensure that a Prior Written Notice was issued to the parent notifying her of the

IEP team’s decision not to change Student’s placement to a more restrictive

setting, the reasons therefor and options considered.

For relief, the parent requests that the hearing officer order DCPS to place
Student at a suitable therapeutic residential school and to ensure that Student’s IEP is
appropriately reviewed and revised to reflect Student’s alleged need for a residential

placement. In addition, Petitioner seeks compensatory education relief for the denials

of FAPE alleged in the complaint.
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FINDINGS OF FACT

After considering all of the evidence, as well as the argument of counsel, this
hearing officer’s findings of fact are as follows:
1. Student, an AGE youth, resides in the District of Columbia with Mother.

Testimony of Mother. Student is eligible for special education under the IDEA disability

classification Emotional Disturbance (ED). Exhibit P-4.

2. On April 24, 2015, Petitioner filed a previous request for a due process
hearing for Student. Following a hearing on June 5 and June 15, 2016, former Hearing
Officer Charles Carron issued a Hearing Officer Determination on June 22, 2015 (the
June 22, 2015 HOD). In his decision, Hearing Officer Carron found, inter alia, that
DCPS had denied Student a FAPE by failing to evaluate him in all areas of suspected
disabilities and by failing to fund an Independent Educational Evaluation, by making
changes to Student’s IEP without giving the parent the opportunity for input, by not
providing appropriate Emotional, Social and Behavioral goals in Student’s IEP, and by
providing insufficient hours of specialized instruction outside of general education,
given Student’s emotional, social and behavioral needs. Hearing Officer Carron
ordered, inter alia, that DCPS ensure that Student’s IEP was amended to provide
specialized instruction for all academic instruction, in a small classroom, outside of the
general education setting; that DCPS ensure that Student would be escorted by an adult
for transitions in school and that a safety plan be incorporated in Student’s IEP; that
DCPS fund one IEE assessment of Student (either a psychological, speech and language,
occupational therapy, assistive technology or functional behavioral assessment — to be
decided my Mother) and that Student’s IEP team be convened to review the IEE

evaluations and revise Student’s IEP as appropriate. Exhibit R-1.
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3. On July 22, 2015, Student’s IEP team convened at CITY SCHOOL 1. The
IEP team revised Student’s IEP to provide for 20 hours per week of Special Education
Services Outside General Education, 240 minutes per month of Behavioral Support
Services and 120 minutes per month of Speech-Language Pathology. Exhibit P-8. On
July 29, 2015, DCPS issued a location of services letter to inform the parent that City
School 2 would be the new location of special education services for Student. Exhibit R-
2.

4. Student was brought before the D.C. juvenile court in February 2014 for
allegedly throwing missiles. He was placed by the court in a diversion program and
provided social services include therapy, 1" home care, and community based services.
He was assigned a probation officer to monitor him at school and subjected to drug
testing. The court has ordered Student to attend school, but Student has not complied.

Testimony of Mother.

5. On June 9, 2014, Student received a court-ordered psychoeducational
evaluation to assess his cognitive and personality functioning. The examiner
summarized that cognitive testing indicated that Student was exhibiting a borderline
cognitive performance (FSIQ) and very limited to low average academic skill
performance. His emotional and personality testing indicated significant difficulties
with traumatic symptoms, which included irritability, excessive worrying, nightmares,
feeling guilty, sleep disturbance and somatic complaints. He additionally experienced
depressive symptoms, which included irritability, depressed mood, sleep disturbances,
feeling hopeless, poor concentration and somatic complaints. Overall, available
information indicated that Student was suffering from Posttraumatic Stress Disorder

and Persistent Depressive Disorder. The examiner diagnosed Student with
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Posttraumatic Stress Disorder and Language Disorder (Provisional). Exhibit P-18.

6. Beginning in September 2015, INDEPENDENT PSYCHOLOGIST
conducted an IEE comprehensive psychological evaluation of Student. Due to Student’s
limited compliance with testing and disruptive behaviors, Independent Psychologist did
not complete the evaluation until February 4, 2016. In her written report, Independent
Psychologist reported, inter alia, that Student’s records indicated diagnoses of Attention
Deficit Hyperactivity Disorder (ADHD), Post-Traumatic Stress Disorder (PTSD),
Parent-Child Relational Problems, Academic Problems and a provisional expressive
language disorder. Significant life stressors had been experienced by Student, including
exposure to community violence and loss of contact with his father due to his father’s
incarceration. Student had been involved with the judicial system and placed on
probation, requiring an ankle bracelet for monitoring. Student’s pattern of disruptive
behaviors in the evaluation process (7.e., eloping, suspension, non-compliance with
school rules) and non-compliance with testing indicated very significant difficulties with
self-management of his behavior and emotions and their impact on his education, his
ability to participate at school, his ability to access the curriculum, and his personal
safety. Student walked away after administration of only four of the ten subtests of the
Wechsler Intelligence Scale for Children, Fourth Edition (WISC-IV). He had average
range scores on three subtests, consistent with his previous, June 2014, testing.
Student’s impaired score on the WISC-IV similarities subtest was also consistent with
previous testing of his Verbal Comprehension Index (VCD), which fell in the borderline
range in 2014. The finding was also consistent with Student’s previously noted
expressive language difficulties. Assessment of Student’s behavior and emotion in the

school environment, as reported by staff at City School 2, indicated clinical levels of
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ADHD, Oppositional Defiant Disorder, Conduct Disorder, Post-Traumatic Stress,
Anxiety and Depression. Significant problems with academics, including reading,
mathematics and written expression, suggested concern about possible learning
disabilities. Significant problems with peers and classroom behavior were also reported.
Independent Psychologist’s observation of Student in his school environment at City
School 2 and her conversations with his school social worker and aides indicated
significant disruptive behavior and non-compliance. When Independent Psychologist
observed Student at City School 2, Student exited his classroom after only a short period
of time and began walking the halls in a hostile and aggressive manner, Taken together,
the psychological evaluation indicated that Student was a student with a disability in
need of significant special education support. His disruptive behavior was his most
significant problem at that time. The contribution of Student’s learning difficulties to
his disruptive behavior was unclear to Independent Psychologist but she posited that it
may have been a contributing factor leading to frustration, shut down, and subsequent
acting out behaviors. Independent Psychologist recommended, inter alia, that
Student’s educational achievement, speech and language skills and occupational therapy
(OT) needs should be further assessed. Independent Psychologist endorsed Student’s
placement at NONPUBLIC SCHOOL 1 to support him behaviorally and noted that
Student might require a higher level of support if Student were unable to consistently
stay at Nonpublic School 1 due to his behaviors. Independent Psychiatrist also
recommended that Student’s caregivers work closely with a psychiatrist for medication
support and that Student engage in outpatient psychotherapy to aid in addressing his

emotional and behavioral problems. Exhibit P-15.
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7. Student began the 2015-2016 school year at City School 2. In the fall of
the school year, Assistant Principal referred Student to DCPS for an observation for a
more restrictive environment referral, following three incidents that started with threats
to school staff and ended with attempted assaults on school staff. Two of these incidents
had resulted in Student’s arrest and a hospital admission. The DCPS observer observed
Student in his City School 2 classroom on October 22, 2015. She concluded that Student
could benefit from a more restrictive school setting, where his academic and behavioral
needs could be addressed. Exhibit P-11.

8. Following an alleged assault on the school principal at City School 2 in
November 2015, DCPS placed Student at Nonpublic School 1. In May 2016, Nonpublic
School 1 informed the parent that due to safety concerns (after Student had allegedly
brought a gun to school), Student would be transferred to another school. Testimony of
Mother, Exhibits P-4, R-33.

9. DCPS convened an IEP annual review meeting for Student on May 16,
2016. Petitioner’s Attorney attended the meeting and Mother participated by telephone.
The May 16, 2016 IEP provided for Student’s full-time Specialized Instruction (29.5
hours per week) in a small group setting, not to exceed 12 students, outside general
education. The IEP also provided for 150 minutes per month of Behavioral Support
Services, 120 minutes per month of Speech-Language Pathology and a full-time
dedicated aide. At the IEP team meeting, the team discussed that Student is educated at
a setting that has only students identified with disabilities and no time with non-
disabled peers. At the meeting, Mother requested a residential placement for Student,
to no avail. Exhibits R-19, R-20. On May 16, 2016, DCPS issued a Prior Written Notice

to the parent informing her that the IEP team agreed to continue Student’s services “in
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the current level of restriction,” i.e., a special education day school. Exhibit R-21.

10. After the IEP meeting on May 16, 2016, Petitioner’s Counsel wrote DCPS
to request, in light of Student’s daily struggles, refusal to cooperate with the school
program and oppositional conduct, that Student be placed in a therapeutic residential
school. She asserted that Nonpublic School 1 had already implemented everything that
a day school program had to offer in terms of small classes, dedicated aide, counseling,
structure, behavior plan, etc. and it was not working. The attorney requested a meeting
to discuss and determine a more restrictive environment for Student. Exhibit P-41.

11. Inthe summer of 2016, Student briefly attended CLOSED NONPUBLIC

SCHOOL, before that school closed. Testimony of Mother. In September 2016, DCPS

issued a location of services letter placing Student at Nonpublic School 2, a therapeutic
day school. Exhibit R-24.

12.  Inspring 2016, Student was referred for a functional behavioral
assessment (FBA) due to aggression, non-compliant and inattentive behaviors and lack
of empathy and concern for others. Identified behaviors of concern included being out
of seat, defiance, moodiness, physical aggression, social skills, bossiness,
noncompliance, picking on others, verbal aggression, bullying, depression, fighting,
being off task, talking out, withdrawal, hyperactivity, poor motivation, yelling,
distracting others, minding others’ business, seeking attention and leaving school
property without permission. Student was reported to display inattentive behaviors
continuously, to demonstrate physically and verbally aggressive behaviors for up to 10
minutes and to display impulsive, physically and verbally aggressive. behaviors on
average 8-10 times per hour. The negative ramifications of these behaviors included

disruption, interference with safe transport, danger to self, impeding educational
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progress, impacting interpersonal relationships with adults, interference with social
interactions, danger to others, impacting interpersonal relationships with peers,
property damage, interference with instruction, intimidation of others. Exhibit R-17.

13. From September 28, 2016 until October 28, 2016 Student was placed,
under a court order for severe drug use, at TREATMENT CENTER, an inpatient facility
in Maryland. While at Treatment Center, Student had episodes of aggression and anger
toward staff. Exhibit P-28.

14. In November 2016, Student began attending Nonpublic School 2, where he
is currently enrolled in GRADE. Nonpublic School 2 is a special education day school
for children with disabilities, primarily ED, in suburban Maryland. It provides
educational services in a therapeutic climate. School staff are trained to deal with
students’ emotional behavior school wide. When Student first went to Nonpublic School
2, he adjusted fairly well, but had attendance issues. On January 10, 2017, the school
made a truancy referral to the D.C. Superior Court. At that point, Student had been
truant from school 18 days between December 14, 2016 and January 10, 2017. As of
January 10, 2017, Student had not returned to school after the winter break. Student
has had several behavior incidents at Nonpublic School 2. In one incident, Student had
to be physically restrained. After another incident, Student required seclusion because
he was so aggressive. On a third occasion, local police had to be summoned to remove
Student after he shoved staff and punched a window, shattering the plexiglass.
Notwithstanding, Program Director believes Nonpublic School 2 could meet Student’s

educational and behavioral needs if he would attend school. Testimony of Program

Director, Exhibits R-27, R-28. As of the due process hearing date, Student was still

refusing to go to school. Testimony of Mother.

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15. On February 6, 2017, DCPS convened an IEP team meeting to discuss
Student’s not attending school, and the parent’s request for a more restrictive
environment. Mother and Petitioner’s Counsel attended the meeting. Petitioner’s
Counsel reiterated Mother’s request for a residential placement for Student. DCPS
Monitor stated it was DCPS’ position that Student did not require a more restrictive
environment than Nonpublic School 2. Exhibit R-28.

16. Student’s grades over the 2015-2016 and 2016-2017 school years have
been mostly D’s and F’s. Exhibit P-34.

CONCLUSIONS OF LAW

Based upon the above Findings of Fact and argument and legal memoranda of
counsel, as well as this hearing officer’s own legal research, the conclusions of law of this
hearing officer are as follows:

Burden of Proof

As provided in the D.C. Special Education Student Rights Act of 2014, the party
who filed for the due process hearing, the Petitioner in this case, shall bear the burden of
production and the burden of persuasion, except that where there is a dispute about the
appropriateness of the student’s IEP or placement, or of the program or placement
proposed by DCPS, the District shall hold the burden of persuasion on the
appropriateness of the existing or proposed program or placement; provided that the
Petitioner shall retain the burden of production and shall establish a prima facie case
before the burden of persuasion falls on the District. The burden of persuasion shall be
met by a preponderance of the evidence. See D.C. Code § 38-2571.03(6).

Analysis
A.

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Did DCPS deny Student a FAPE, and violate the June 22, 2015 HOD, by

failing to offer Student an appropriate full-time IEP and suitable

educational placement by the beginning of the 2015-2016 school year

when Student was at City School 2?

Following a two-day due process hearing in June 2015, former Hearing Officer
Charles Carron issued a Hearing Officer Determination on June 22, 2015. In that
decision Hearing Officer Carron found that since January 22, 2015, DCPS had denied
Student a FAPE because his IEPs provided insufficient hours of specialized instruction
in the outside of general education setting, given Student’s emotional, social and
behavioral needs. Hearing Officer Carron ordered, inter alia, that DCPS ensure that
Student’s IEP be amended to provide for all of Student’s academic instruction to be
provided in a small classroom with a low student-to-adult ratio, in an outside of general
education setting. Student’s IEP team was convened on July 22, 2015. His IEP was
revised to provide for 20 hours per week of Specialized Instruction in a small group,
outside of general education, setting. Subsequently, DCPS issued a location of services
letter informing Mother that Student’s IEP would be implemented at City School 2.
Student was enrolled in City School 2 from the beginning of the 2015-2016 school year
until November 2015, when he was placed by DCPS at Nonpublic School 1, a full-time
special education day school.

Petitioner contends that the July 22, 2015 IEP provision of only 20 hours per
week of Specialized Instruction outside general education did not comply with the June

22, 2015 HOD requirement that “all of Student’s academic instruction” be provided

outside of the general education setting. However, Assistant Principal testified that

2 Petitioner made essentially the same claim in a motion she filed on November 11,
2015 in the U.S. District Court for the District of Columbia in Case No. 15-CV-1505, in
which Petitioner appealed parts of the June 22, 2015 HOD. In the motion, Petitioner

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while Student was at City School 2, he was placed full-time in the self-contained
Behavior and Education Support (BES) classroom and all of his academic instruction
was provided in that setting. I find that although the July 22, 2015 IEP did not specify
that all of Student’s academic instruction would be provided in the self-contained
classroom, that was, in fact, what was implemented at City School 2.

Petitioner rightly complains that, even though Student was placed in the full-time
BES classroom at City School 2, DCPS’ failure to provide in his IEP for all academic
instruction to be provided outside the general education setting contravened the
requirements of the June 22, 2015 HOD. See N.S. ex rel. Stein v. District of Columbia,
709 F.Supp.2d 57, 73 (D.D.C.2010) (“One of the purposes of the IEP is to ensure that the
services provided are formalized in a written document that can be assessed by parents
and challenged if necessary.”) However, flaws in an IEP do not necessarily rise to a
denial of FAPE. See N.S., supra, at 70 (“Ultimately, the question before the Court is
whether or not the defects in the. . . IEP are so significant that [dJefendant failed to

offer [the student] a FAPE.”) Here, because at City School 2, Student was actually

offered all of his academic instruction in the outside of general education setting
ordered by Hearing Officer Carron and because Student only remained at City School 2

until late November 2015, when he was placed at Nonpublic School 1, I conclude that

alleged that DCPS had failed to offer Student all instruction outside the general
education setting in a small class setting, as required by the HOD. Petitioner sought a
temporary restraining order to enjoin DCPS to place Student at Nonpublic School 1. By
a minute order signed by U.S. District Judge Beryl A. Howell on February 5, 2016, the
Court denied, as moot, Petitioner’s motion for a temporary restraining order and
preliminary injunction, evidently because on November 18, 2015, DCPS issued a
location of services letter identifying Nonpublic School 1 as Student’s new location of
services. See Exhibit R-11. U.S. District Judge Howell entered a final order in Case No.
15-CV-1505 on February 22, 2017. Exhibit R-33. Neither party has argued that the
federal action has any preemptive or preclusive effect in this administrative proceeding.

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DCPS has met its burden of persuasion that the July 22, 2015 IEP provision for only 20
hours of Specialized Instruction, outside general education, did not result in a denial of
FAPE to Student.

B.

— Since May 2016 through the present, has DCPS denied Student a FAPE

by failing to ensure that an IEP team was convened to review his academic,

social, emotional and behavioral needs and to provide for Student’s

placement in a therapeutic residential school?

— Since July 2015, has DCPS denied Student a FAPE by failing to ensure that

Student’s IEP teams discussed his least restrictive environment and described the

team’s LRE consideration and decision on Student’s IEPs?

— Since May 2016, has DCPS denied Student a FAPE by failing to ensure that a

Prior Written Notice was issued to the parent notifying her of the IEP team’s

decision not to change Student’s placement to a more restrictive setting, the

reasons therefor and options considered?

Petitioner’s primary concern in this case is to secure DCPS funding for a
residential educational placement for Student. Mother testified, and it is not disputed,
that despite her best efforts and all of the interventions attempted by the court and
community services agencies, as well as by DCPS, Nonpublic School 1 and Nonpublic
School 2, Student will not consistently attend school unless there is what Mother calls
“enforced instruction.” DCPS maintains that Student can receive a FAPE in a nonpublic
special education day school and that he does not require a residential placement.

Petitioner structures her residential placement claim in the context of Student’s
last, May 16, 2016 IEP. The May 16, 2016 IEP provides for Student’s full-time
Specialized Instruction (29.5 hours per week) in a small group setting outside general
education. The IEP also provides for 150 minutes per month of Behavioral Support

Services, 120 minutes per month of Speech-Language Pathology and for a full-time

dedicated aide. Mother asserts that DCPS denied Student a FAPE because it did not

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offer Student a residential placement in the May 16, 2016 IEP or at any time since.

Appropriateness of May 16, 2016 IEP

I first address the appropriateness of the educational placement provision in the
May 16, 2016 IEP, as of the time it was offered to Student. See, e.g., S.S. ex rel. Shank v.
Howard Rd. Academy, 585 F.Supp.2d 56 (D.D.C.2008) (“[B]ecause the question .. . is
not whether the IEP will guarantee some educational benefit, but whether it is
reasonably calculated to do so, ... the measure and adequacy of an IEP can only be
determined as of the time it is offered to the student.” Id. at 66.) In Moradnejad v.
District of Columbia, 177 F. Supp. 3d 260 (D.D.C. 2016), the Court adopted the Report
and Recommendation of U.S. Magistrate Judge G. Michael Harvey, which explained
how a court or a hearing officer must assess an IEP:
The Supreme Court explained in [Bd. of Educ. v. Rowley, 458 U.S. 176,
102 S.Ct. 3034, 73 L.Ed.2d 690 (1982)] that a court’s assessment of an IEP
involves two inquiries:
First, has the State complied with the procedures set forth in
the [IDEA]? And second, is the [IEP] developed through the
[IDEA’s] procedures reasonably calculated to enable the
child to receive educational benefits? If these requirements
are met, the State has complied with the obligations imposed
by Congress and the courts can require no more.
Moradnejad at 274-75. In Endrew F. ex rel. Joseph F. v. Douglas Cty. Sch. Dist. RE-1,
1378S. Ct. 988 (2017), the U.S. Supreme Court elaborated on the “educational benefits”
requirement pronounced in Rowley:
To meet its substantive obligation under the IDEA, a school must offer an
IEP reasonably calculated to enable a child to make progress appropriate
in light of the child’s circumstances. .. . Any review of an IEP must
appreciate that the question is whether the IEP is reasonable, not whether
the court regards it as ideal... . When a child is fully integrated in the
regular classroom, as the Act prefers, what that typically means is

providing a level of instruction reasonably calculated to permit
advancement through the general curriculum.... If that is nota

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reasonable prospect for a child, his IEP need not aim for grade-level

advancement. But his educational program must be appropriately

ambitious in light of his circumstances, just as advancement from grade to

grade is appropriately ambitious for most children in the regular

classroom. The goals may differ, but every child should have the chance to

meet challenging objectives.

Endrew F., supra, 137 S. Ct. at 999-1000 (citations omitted).

Petitioner asserts that DCPS violated the IDEA procedural requirements, when
developing the May 16, 2016 IEP, in two respects. First, Petitioner alleges that Student’s
IEP team did not discuss his least restrictive environment (LRE) or described the team’s
LRE consideration and decision on Student’s IEP.* I disagree. The May 16, 2016 IEP
team meeting notes establish that the IEP team discussed that Student would be
educated at a setting that has only students identified with disabilities and no time with
non-disabled peers. The final IEP provided that for his Specialized Instruction, 29.5
hours per week, Student required instruction in a small group, not to exceed 12
students, outside of the general education setting. I find that this was a sufficient IEP

description of the Student’s least restrictive environment.

Petitioner also alleges that DCPS denied Student a FAPE by not issuing a Prior

3 While school districts must inform parents about placements alternatives that
were considered and rejected, there is no requirement to detail LRE considerations in a
child’s IEP. See U.S. Department of Education, Assistance to States for the Education of
Children with Disabilities, 71 Fed. Reg. 46579, 46588 (August 14, 2006) (While public
agencies have an obligation under the [IDEA] to notify parents regarding placement
decisions, there is nothing in the Act that requires a detailed explanation in children’s
IEPs of why their educational needs or educational placements cannot be met in the
location the parents’ request. We believe including such a provision would be overly
burdensome for school administrators and diminish their flexibility to appropriately
assign a child to a particular school or classroom, provided that the assignment is made
consistent with the child’s IEP and the decision of the group determining placement;) 71
Fed. Reg. 46662 (Public agencies only required to include information in IEP which is
explicitly required by the IDEA.) But see Brown v. District of Columbia, No. 15-0043,
2016 WL 1452330 (D.D.C. Apr. 13, 2016) (IEP is inadequate if it does not include a
description of the student’s least restrictive environment and discussion of his
appropriate placement along the continuum of alternative placements.)

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Written Notice (PWN) since May 2016, notifying her of the District’s decision not to
change Student’s placement to a residential setting. The IDEA requires that the LEA
must give prior written notice before the LEA proposes to initiate or change the
identification, evaluation, or educational placement of child with a disability or the
provision of FAPE to the child. See 34 CFR § 300.503(a). The notice must include (1) A
description of the action proposed or refused by the agency; (2) An explanation of why
the agency proposes or refuses to take the action and (3) A description of each
evaluation procedure, assessment, record, or report the agency used as a basis for the
proposed or refused action. See 34 CFR § 300.503(b) (emphasis supplied).

On May 16, 2016, DCPS issued a PWN to the parent informing her that the IEP
team agreed to continue Student’s services “in the current level of restriction,” i.e., a
special education day school. This PWN was inadequate because it omitted any
explanation of DCPS’ refusal to change Student’s educational setting to a residential
placement, which was requested by the parent and her attorney at the IEP meeting. An
agency’s failure to give the required PWN is a procedural violation of the IDEA. See
Honig v. Doe, 484 U.S. 305, 312, 108 S.Ct. 592, 598 (1988) (Safeguards include prior
written notice whenever the responsible educational agency refuses to change the child’s
placement or program.) Procedural violations may only be deemed a denial of FAPE if
the procedural inadequacies—

(i) Impeded the child’s right to a FAPE;

(ii) Significantly impeded the parent’s opportunity to participate in the

decision-making process regarding the provision of a FAPE to the parent’s child;

or

(iii) Caused a deprivation of educational benefit.

34 CFR § 300.513(a)(2).

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The purpose of the prior written notice requirement “is to ensure that parents are
aware of the decision so that they may pursue procedural remedies.” M.B. ex rel. Berns
v. Hamilton Southeastern Schools, 668 F.3d 851, 861-862 (7" Cir.2011). In this case,
Petitioner has been represented at all times by able counsel, who represented her at the
May 16, 2016 IEP meeting, communicated on her behalf with DCPS and, seasonably,
filed the present due process complaint. DCPS’ procedural omission in the May 16, 2016
PWN to provide an explanation for its refusal to change Student’s placement to a
residential school did not impede the parent’s opportunity to participate in the process
or result in harm to Student. I find that, on these facts, the inadequacy of DCPS’ May
16, 2016 PWN did not result in denial of FAPE to Student.

I turn, next, to the second, substantive, prong of the Rowley/Endrew F. inquiry:
Was the May 16, 2016 IEP, at the time it was developed, specifically Student’s placement
at a therapeutic special education day school, reasonably calculated to enable Student to
make progress appropriate in light of this student’s individual circumstances? The
IDEA contemplates a continuum of educational placements to meet the needs of
students with disabilities. Depending on the nature and severity of his disability, a
student may be instructed in regular classes, special classes, special schools, at the
home, or in hospitals and institutions. See 5E DCMR § 3012, 20 U.S.C. § 1412(a)(5), 34
CFR § 300.115. The IDEA requires that students with disabilities be placed in the “least
restrictive environment” so that they can be educated in an integrated setting with
students who are not disabled to the maximum extent appropriate. See, e.g., Smith v.
District of Columbia, 846 F.Supp.2d 197, 200 (D.D.C. 2012). Before placing a child ina
residential institution, the most restrictive of settings, a school district must consider

intermediate steps wherever appropriate. See, e.g., Oberti by Oberti v. Bd. of Educ. of

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Borough of Clementon Sch. Dist., 995 F.2d 1204, 1218 (3d Cir. 1993); Daniel R.R. v.
State Bd. of Educ., 874 F.2d 1036, 1050 (5th Cir.1989).

In this case, until late November 2015, Student’s special education had been
provided in special classes in DCPS public schools. As of the May 16, 2016 IEP meeting,
Student had only attended Nonpublic School 1 since December 2015. Independent
Psychologist had endorsed Student’s placement at Nonpublic School 1, although she
noted that Student might require a higher level of support if Student was unable to
consistently stay at Nonpublic School 1 due to his behaviors. Prior to the May 16, 2016
IEP team meeting, Nonpublic School 1 informed the parent that Student would be
transferred out due to safety concerns. At the IEP meeting, DCPS maintained Student’s
special school placement, but ultimately changed his location to Nonpublic School 2, a
small private school which primarily serves students, like Student, who have emotional
disturbance disabilities. At Nonpublic School 2 Student has responded well to the
school staff and was doing well on the days when he attended. The concern is that
Student does not regularly attend school.

Petitioner’s expert, Educational Advocate, opined that after Student was expelled
from Nonpublic School 1 in spring 2016, his IEP should have been revised to provide for
a 24 hour, highly structured, residential program. However, Student was expelled from
Nonpublic School 1 for allegedly carrying a weapon to school, not because he could not
receive educational benefits there. Moreover, Educational Advocate never evaluated
Student or spoke to him or to any of his instructors at Nonpublic School 1. In her
testimony, she denied knowledge of the weapon incident. When Educational Advocate
did her observation at Nonpublic School 2, she observed that Student was compliant

and had good rapport with school staff. I find unpersuasive her opinion that Student

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should have been placed at a residential institution following his expulsion from
Nonpublic School 1 after the alleged weapon incident. In sum, on these facts, I find that
DCPS has met its burden of persuasion that at the time of the May 16, 2016 IEP
meeting, the IEP team’s decision to maintain Student’s placement at a nonpublic special
day school for students with emotional disabilities was reasonably calculated to enable
Student to make progress appropriate in light of his circumstances. See Endrew F.,
supra.

Present Need for Residential Placement

On February 6, 2017, Student’s IEP team was convened by DCPS to consider
Mother’s renewed request for a residential placement. On January 30, 2017,
Petitioner’s Counsel had written DCPS Monitor by email requesting the meeting
because, according to the attorney, due to Student’s behavior/psychiatric issues, Student
was refusing to attend school and had not attended Nonpublic School 2 since early
January. Petitioner’s Counsel represented that Student was in crisis and needed a
residential school placement immediately. At the February 6, 2017 meeting, Program
Director stated that Student had not shown any major disruptive behaviors during his
time at Nonpublic School 2. At the due process hearing, Program Director confirmed
that Student has been not been attending school regularly since after the school’s winter
break. Program Director was unable to propose a solution for Student’s nonattendance.
DCPS Monitor stated at the February 6, 2017 meeting that DCPS’ position was that
Student did not require a more restrictive environment and Student’s IEP placement
was not changed. Petitioner asserts that this was a denial of FAPE.

In McKenzie v. Smith, 771 F.2d 1527 (D.C.Cir. 1985), the D.C. Circuit adopted a

test, first enunciated by the Third Circuit Court of Appeals in Kruelle v. New Castle

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County School District, 642 F.2d 687, 693 (3d Cir.1981), for determining whether a
parent is entitled to reimbursement for making a private residential placement. In
Kruelle, an intellectually disabled child, who was unable to speak and not toilet trained,
was found to need extensive, around-the-clock, care as part of his FAPE. The Kruelle
test focuses on whether a child’s medical, social, or emotional problems are “inextricably
intertwined” with the learning process. “To determine whether a residential placement
is appropriate, a court must analyze ‘whether full-time placement may be considered
necessary for educational purposes, or whether the residential placement is a response
to medical, social or emotional problems that are segregable from the learning process.”
McKenzie v. Smith, supra, 771 F. 2d at 1534, quoting Kruelle, supra, 642 F.2d at 693.)
Under this test, if a hearing officer cannot segregate a child’s medical, social, or
emotional problems from the learning process, the school district must be ordered to
fund a full time residential placement. In its decision, the D.C. Circuit upheld the
district court’s finding that based on the preponderance of the evidence, the student’s
educational and emotional needs could not be segregated, and that a residential
placement was therefore appropriate. Id. at 1535.

Importantly, in McKenzie v. Smith, the parents were seeking reimbursement for
their unilateral placement of their son at a private residential school and DCPS
presented no evidence in support of its proposed placement of the student at “a large
public high school where at least one-fourth of his time would be spent in regular
classes.” By contrast, in the present case, DCPS has placed Student at a private special
education day school which primarily serves students, like Student, who have Emotional
Disturbance disabilities. But, Student refuses to go to the school and neither the parent,

nor the private school, nor DCPS has a solution for Student’s school refusal, except for

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the parent’s proposal to place Student at a residential facility.

In support of her argument that DCPS must fund a residential placement for
Student, Petitioner cites the decision in Indep. Sch. Dist. No. 284 v. A.C., by & through
her Parent, C.C., 258 F.3d 769 (8th Cir. 2001). In that case, the school district
characterized the student’s need for a residential placement as a need for confinement,
and argued that confinement was not a “related service” that it was required to provide
under the IDEA. The Eighth Circuit instructed that the focus should not be on

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characterizing the child’s “problem,” but on whether the problem needs to be addressed
in order for the child to learn:

If the problem prevents a disabled child from receiving educational

benefit, then it should not matter that the problem is not cognitive in

nature or that it causes the child even more trouble outside the classroom

than within it. What should control our decision is not whether the

problem itself is “educational” or “non-educational,” but whether it needs

to be addressed in order for the child to learn.
Id. at 777. The Circuit Court relied heavily on an independent educational evaluation
conducted by a university neuropsychologist, who strongly recommended that the
student be placed in a secure facility, largely to prevent truancy, and predicted that, after
a course of treatment, the student would probably be able to return to the classroom.
Importantly, the Circuit Court found that “mere confinement was [not] the evaluator’s
reason for recommending a residential placement. An independent and sufficient reason
for that recommendation was to provide treatment for a psychological problem that has
prevented [the student] from making acceptable academic progress.” Id. at 778. The
Court overturned the lower court’s decision that a residential placement was not

educationally necessary for the student.

In support of its position that the IDEA does not require it to fund a residential

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placement, when the Student refuses to attend an otherwise appropriate therapeutic day
school, DCPS cites the Seventh Circuit’s decision in Dale M. ex rel. Alice M. v. Bd. of
Educ. of Bradley-Bourbonnais High Sch, Dist. No. 307, 237 F.3d 813, 817 (7th Cir.
2001). In Dale M., the Seventh Circuit concluded that sending the student to a
residential facility was not for educational reasons, but to keep the child out of trouble.
“[T]he purpose of the ‘service’ that the school district is being asked to pay for is to keep
Dale out of jail, both directly, because the judge was willing to release him from jail to
[the residential facility], and indirectly, because Dale is less likely to commit burglary
and other crimes when he is in a residential facility than when he is living at home with
only his mother to keep an eye on him.” Id. at 817. Overturning the lower court, the
Seventh Circuit held that for Dale M., residential placement was a “response to medical,
social or emotional problems that are segregable from the learning process.” Id. at 307
(quoting Kruelle v. New Castle County School District, 642 F.2d 687, 693 (3d Cir.1981);
citing Tennessee Dep’t of Mental Health & Mental Retardation v. Paul B., 88 F.3d 1466
(6th Cir.1996); McKenzie v. Smith, 771 F.2d 1527 (D.C.Cir.1985)).

Although the Circuit Courts in A.C. and Dale M. reached divergent conclusions,
their analyses are parallel. First, these courts agree with the D.C. Circuit that residential
placement must be necessary for educational purposes or reasons. See A.C. at 774; Dale
M. at 817. The Circuit Courts also appear to agree that the residential placement must
offer therapeutic treatment to address the student’s disability, not merely confinement.
See A.C. at 778 (A reason for residential placement recommendation was to provide
treatment for a psychological problem that has prevented A.C. from making acceptable
academic progress;) Dale M. at 817 (For Dale M.., all residential school provides is

confinement.) Finally, both decisions emphasized that the student’s truancy and

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defiance must result from a “genuine emotional disturbance” rather than from a “purely
moral failing.” A.C. at 776. See Dale M. at 817 (Student’s problem is a lack of proper
socialization, as a result of which, despite his tender age, he has compiled a significant
criminal record.) These considerations are helpful in applying the D.C. Circuit’s
standard from McKenzie v. Smith to the principle query in this case, namely, whether
for this Student, “full-time placement may be considered necessary for educational
purposes, or whether the residential placement is a response to medical, social or
emotional problems that are segregable from the learning process.” Id., 771 F. 2d at
1534.

First, Petitioner and DCPS agree that Student has a qualifying emotional
disturbance disability and there is no dispute that his disability is severe. The
preponderance of the evidence makes it likely that student’s defiant truancy results from
his ED disability rather than from a “purely moral failing.” See A.C., supra. Petitioner’s
expert, Educational Advocate, opined that Student’s bullying, noncompliance,
argumentativeness, and nonattendance were glaring manifestations of his ED disability.
Her opinion was consistent with Independent Psychologist’s February 2016
psychological evaluation report that Student exhibited clinical levels of ADHD,
Oppositional Defiant Disorder, Conduct Disorder, Post-Traumatic Stress, Anxiety and
Depression.

It is also clear that the parent’s request to place Student at a residential
institution is for an educational reason, that is, as she and Educational Advocate
testified, to make sure Student goes to school.

What is not clear from the evidence is whether Student needs a residential

placement merely for confinement and to try to ensure he attends school, or in order to

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get therapeutic treatment to address his disability. Program Director testified that when
Student attended school at Nonpublic School 2, he was doing well, but Student was not
making progress because he was not attending. Mother was clear in her testimony that
she wants Student placed at a residential school for “enforced instruction.”
Unfortunately, Petitioner did not offer the testimony of Independent Psychologist, or
another expert psychologist, who could offer an opinion on Student’s requirement for a
residential placement, based upon a current evaluation. I give little weight to the
opinion of Educational Advocate that Student requires a 24 hour therapeutic placement
“first and foremost” to address his emotional issues. Educational Advocate is not a
psychologist and she had never evaluated Student or even spoken with him.

As of the hearing date, Petitioner and her representatives had not secured
Student’s admission to a residential school or identified a residential institution where
Student could be placed. There was also no evidence of the type of therapy Student
needed to address his unwillingness to attend school or whether a specific residential
school would be able to provide those services. For its part, DCPS, which holds the
burden of persuasion, offered no evidence that Student could be expected to make
educational progress at his current therapeutic day school unless his unwillingness to
attend school can be overcome.

“[T]he overarching purpose of the least restrictive environment requirement
would be for naught if the school system could effectively order residential placement
when less restrictive options exist that can afford meaningful educational benefit.”
Millay v. Surry Sch. Dep't, 2009 WL 5184388, (D.Me. Dec. 22, 2009), report and
recommendation adopted sub nom. Millay ex rel. YRM v. Surry Sch. Dep't, 707 F. Supp.

2d 56 (D. Me. 2010). I find that on the existing record, I am unable to determine that a

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residential institution is Student’s least restrictive educational environment.

In B.D. v. District of Columbia, 817 F.3d 792 (D.C. Cir. 2016), in the context of
compensatory education awards, the D.C. Circuit encouraged hearing officers to order
further assessments if needed to discern a student’s needs. (“Assessments sufficient to
discern B.D.’s needs and fashion an appropriate compensatory education program may
now exist. But it may also well be that further assessments are needed. If so, the district
court or Hearing Officer should not hesitate to order them, including, if appropriate on
the updated record, assessment at a residential treatment facility.” Id. at 800.) In the
present case, I conclude that the appropriate course at this juncture is to order DCPS to
obtain an independent educational evaluation (IEE) psychological assessment of
Student charged, specifically, with assessing Student’s need for a residential placement
considering his emotional and behavioral disability and how his noncompliance with
school attendance requirements relates to his disability, and with recommending
appropriate therapy, whether Student is placed in a therapeutic day school or in a
residential institution. Pending completion of this evaluation and its consideration by
Student’s IEP team, I will deny, without prejudice, the Petitioner’s request to order a
residential placement for Student.

It appears from the B.D. decision that the D.C. Circuit anticipated that the
hearing officer or court would keep the evidentiary record open until further
assessments are completed. However, because my Hearing Officer Determination is due
by May 3, 2017, I will not defer my final decision in this case. See 34 CFR § 300.515(a).
If, after Student’s IEP team has reviewed the ordered assessment and updated his IEP,
Petitioner and DCPS continue to be unable to agree on Student’s educational placement,

Petitioner may request a new due process hearing on the placement issue. I would

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anticipate that such a hearing would be held on the expedited hearing schedule.

ORDERED:

Date:

ORDER

Based upon the above Findings of Fact and Conclusions of Law, it is hereby

1.

Within ten business days of the date of this order, subject to obtaining the
parent’s consent, DCPS shall engage Independent Psychologist or another
qualified psychologist, who is neither an employee of DCPS nor an
individual who regularly testifies for parents at due process hearings, to
conduct a supplemental psychological assessment of Student to
specifically assess Student’s need for a residential placement considering,
inter alia, Student’s disability, his educational needs, his current
emotional and behavioral functioning, and Student’s noncompliance with
school attendance requirements and its relationship to his disability, and
to recommend appropriate treatment whether Student is placed in a
therapeutic day school or in a residential institution. Within 15 business
days of receipt of the independent psychological assessment report, DCPS
shall convene Student’s IEP team, including the parent and her
representatives, to review the independent report and other relevant data
and to revise Student’s IEP, including his educational placement, as
appropriate. If DCPS and Petitioner are then unable to agree upon a
suitable educational placement and location of services for Student,
Petitioner may request another, expedited, due process hearing to seek
appropriate relief, informed by the recommendations of the independent
evaluator;

2. Petitioner’s request that DCPS be ordered to fund a prospective residential
placement for Student is denied without prejudice and
3. All other relief requested by the Petitioner herein is denied.
April 29, 2017 s/ Peter B. Vaden

Peter B. Vaden, Hearing Officer

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NOTICE OF RIGHT TO APPEAL

This is the final administrative decision in this matter. Any party aggrieved by
this Hearing Officer Determination may bring a civil action in any state court of
competent jurisdiction or in a District Court of the United States without regard to the

amount in controversy within ninety (90) days from the date of the Hearing Officer
Determination in accordance with 20 U.S.C. § 1415(i).

ce: Counsel of Record
Office of Dispute Resolution
OSSE Division of Specialized Education
DCPS Resolution Team

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